                      Case: 25-1593             Document: 17             Page: 1         Date Filed: 04/11/2025
                  UNITEDSTATESCOURTOFAPPEALSFORTHETHIRDCIRCUIT
                       __________________________________________________

                                              CONCISESUMMARYOFTHECASE

                              Pursuantto3rdCir.LAR33.3,counselarerequiredtofileaconcisesummaryof
thecasewithin14daysofthedateofdocketingoftheNoticeofAppeal.Totalstatementislimitedto
nomorethan2pages,single-spaced.Counselmayutilizethisformorattacha2pagestatement
encompassingtheinformationrequiredbythisform.

SHORT
                   Atlas Data Privacy Corp., et al. v. Lighthouse List Company, LLC
CAPTION:_________________________________________________________________________

                    25-1593
USCANO.:______________________

LOWERCOURTorAGENCYandDOCKETNUMBER:
 District of New Jersey, No. 1:24-cv-11443 (HB)
_________________________________________________________________

NAMEOF
              Hon. Harvey Bartle III, U.S.D.J.
JUDGE:___________________________________________________________________________

Specifywhoissuingwhom,forwhat,andthesubjectofthisaction.Identify(1)thenatureofthe
action;(2)thepartiestothisappeal;(3)theamountincontroversyorotherreliefinvolved;and(4)the
judgmentorotheractioninthelowercourtoragencyfromwhichthisactionistaken:
Plaintiff-Appellee Atlas Data Privacy Corporation ("Atlas"), as the purported assignee of more than 19,000 "covered persons" under Daniel's
Law,  N.J.S.A. 56:8-166.1, et seq., as well as Plaintiffs-Appellees Jane Doe-1, Jane Doe-2, and Patrick Colligan have asserted claims against
 Defendant-Appellant Lighthouse List Company, LLC ("Appellant") alleging that Appellant violated Daniel's Law by allegedly failing to honor
takedown notices sent by Atlas, for approximately 19,000 covered persons, and Appellees Jane Doe-1, Jane Doe-2, and Patrick Colligan.
Appellees   seek injunctive relief, actual damages not less than the $1,000 liquidated damages for each violation, punitive damages, and
 attorneys' fees and litigation costs. Assuming each covered person or individual plaintiff asserts just one violation, the amount in controversy
exceeds $19,000,000.
On January 8, 2025, Appellant filed a Motion to Dismiss that relied on and adopted a Consolidated Motion to Dismiss a group of defendants
had filed before Appellant removed its case to federal court. Appellant's Motion to Dismiss (and the Consolidated Motion to Dismiss) sought
dismissal  of the complaint on the ground that Daniel's Law is facially unconstitutional because it violates the First Amendment. On January 8,
 2025, the District of New Jersey entered an Order denying Appellant's Motion to Dismiss for the reasons explained in the Court's November
26, 2024 memorandum denying the Consolidated Motion to Dismiss. Appellant is appealing from the Court's January 8, 2025 Order.

LISTandATTACHacopyofeachorder,judgment,decisionoropinionwhichisinvolvedinthis
appeal.Iftheorder(s)oropinion(s)beingappealedadopt,affirm,orotherwiserefertothereportand
recommendationofamagistratejudgeorthedecisionofabankruptcyjudge,thereportand
recommendationordecisionshallalsobeattached.
Ex A - November 26, 2024 Memorandum setting forth reasons for denying Consolidated Motion to
Dismiss (Atlas Data Privacy Corp. v. We Inform, LLC, Civ. A. No. 24-4037, 2024 WL 4906924 (D.N.J.
Nov. 26, 2024))

Ex B - January 8, 2025 Order denying Appellant's Motion to Dismiss for the reasons set forth in the
November 26, 2024 Memorandum, supra, and certifying the January 8, 2025 Order for immediate
appeal under 28 U.S.C. 1292(b) (ECF No. 8).


                                                                Page1of2

                       Case: 25-1593               Document: 17              Page: 2          Date Filed: 04/11/2025

Provideashortstatementofthefactualandproceduralbackground,whichyouconsiderimportantto
thisappeal:
New Jersey’s Daniel’s Law provides that, upon receipt of a written notice provided by a covered person, a "person, business, or association” shall
not “disclose” or “otherwise make available” the covered person’s home address or unpublished home phone number (the “Protected Information”).
 Daniel’s Law defines the term “disclose” to encompass any transfer of Protected Information, including transfers between businesses, or even
within the same business.
Daniel’s Law is a strict liability statute that imposes mandatory “liquidated damages” of $1,000 per violation triggered by a short and arbitrary
compliance deadline, without any consideration of fault or extenuating circumstances. At the same time, the statute contains broad-reaching
 exceptions—most significantly for disclosure of records by public agencies—that undermine the very purpose the statute was intended to serve.

Appellant is a business that allegedly was sent thousands of written notices to suppress Protected Information and was then sued by Appellees
 Atlas Data Privacy Corporation ("Atlas") and certain individuals alleging violations of Daniel's Law. Appellant, after removing its case to the District
of New Jersey, moved to dismiss the Complaint on the basis that Daniel's Law is facially unconstitutional in violation of the First Amendment,
adopting  an earlier Consolidated Motion to Dismiss that other defendants had filed. On January 8, 2025, the District of New Jersey denied
 Appellant's Motion to Dismiss for the reasons identified in its November 26, 2024 memorandum denying the Consolidated Motion to Dismiss. Even
though the Court concluded that Daniel's Law is a content-based restriction on non-commercial speech with no express mens rea guardrails, it
nevertheless   created a blanket privacy exception to strict scrutiny and rewrote Daniel's Law to add a negligence requirement, the absence of which
 the court acknowledged would have invalidated Daniel's Law. Recognizing the novel and far-reaching issues at stake, the district court certified its
order for immediate appeal under 28 U.S.C. 1292(b) by Order dated January 8, 2025.
Appellant filed a Petition for Leave to Appeal on January 17, 2025, and this Court granted the Petition by way of Order and Notice dated March 18,
2025. See Case No. 25-8003, Doc. Nos. 1 and 4.

Identifytheissuestoberaisedonappeal:

 Whether N.J.S.A. 56:8-166.1, a section of New Jersey’s Daniel’s Law, facially violates the First
Amendment.

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
ThisistocertifythatthisConciseSummaryoftheCasewaselectronicallyfiledwiththeClerkofthe
U.S.CourtofAppealsfortheThirdCircuitandacopyhereofservedtoeachpartyortheircounselof
record

        11th               April                  25
thisdayof,20.

/s/ Ronald L. Davison

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SignatureofCounsel

Rev.07/2015

                                                                    Page2of2

Case: 25-1593   Document: 17   Page: 3   Date Filed: 04/11/2025




                     Exhibit A
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17   Filed
                                       Page:11/26/24
                                             4         Page 1
                                                  Date Filed:  of 41 PageID: 936
                                                              04/11/2025




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4037
 WE INFORM, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4041
 INFOMATICS, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4045
 THE PEOPLE SEARCHERS, LLC,    :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4075
 DM GROUP, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4080
 DELUXE CORPORATION, et al.    :
________________________________________________________________
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              5         Page 2
                                                   Date Filed:  of 41 PageID: 937
                                                               04/11/2025




 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4096
 DELVEPOINT, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4098
 QUANTARIUM ALLIANCE, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4103
 YARDI SYSTEMS, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4141
 DIGITAL SAFETY PRODUCTS,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4143
 CIVIL DATA RESEARCH           :
________________________________________________________________




                                       -2-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              6         Page 3
                                                   Date Filed:  of 41 PageID: 938
                                                               04/11/2025




 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4160
 SCALABLE COMMERCE, LLC,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4174
 LABELS & LISTS, INC           :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4176
 INNOVIS DATA SOLUTIONS INC.,  :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4178
 ACCURATE APPEND, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4256
 ZILLOW, INC., et al.          :
________________________________________________________________




                                       -3-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              7         Page 4
                                                   Date Filed:  of 41 PageID: 939
                                                               04/11/2025




 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4261
 EQUIMINE, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4292
 MELISSA DATA CORP., et al.    :
________________________________________________________________

  ATLAS DATA PRIVACY           :           CIVIL ACTION
  CORPORATION, et al.          :
                               :
          v.                   :
                               :            NO. 24-4324
  RESTORATION OF AMERICA,      :
  et al.                       :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4345
 i360, LLC, et al.             :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4380
 GOHUNT, LLC, et al.           :
________________________________________________________________




                                       -4-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              8         Page 5
                                                   Date Filed:  of 41 PageID: 940
                                                               04/11/2025




 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4383
 ACCUZIP, INC., et al.         :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4385
 SYNAPTIX TECHNOLOGY, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4389
 JOY ROCKWELL ENTERPRISES,     :
 INC., et al.                  :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4390
 FORTNOFF FINANCIAL, LLC,      :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4392
 MYHERITAGE, LTD., et al.      :
________________________________________________________________




                                       -5-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              9         Page 6
                                                   Date Filed:  of 41 PageID: 941
                                                               04/11/2025




 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4434
 E-MERGES.COM, INC.            :
________________________________________________________________

 ATLAS DATA PRIVACY                    :              CIVIL ACTION
 CORPORATION, et al.                   :
                                       :
          v.                           :
                                       :               NO. 24-4609
 NUWBER, INC., et al.                  :

________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4664
  ROCKETREACH LLC, et al.       :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-4949
 BELLES CAMP COMMUNICATIONS,    :
 INC., et al.                   :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5600
 PROPERTYRADAR, INC., ET AL.    :
________________________________________________________________




                                       -6-
Case 1:24-cv-04037-HB Document 17
       Case: 25-1593 Document: 31    Filed 11/26/24
                                     Page: 10    Date Page
                                                      Filed:704/11/2025
                                                              of 41 PageID: 942



ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5656
 THE ALESCO GROUP, L.L.C.       :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5658
 SEARCHBUG, INC.                :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5775
 AMERILIST, INC., et al.        :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-7324
 US DATA CORPORATION, et al.    :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-8075
 SMARTY, LLC, et al.            :
________________________________________________________________




                                    -7-
Case 1:24-cv-04037-HB Document 17
       Case: 25-1593 Document: 31    Filed 11/26/24
                                     Page: 11    Date Page
                                                      Filed:804/11/2025
                                                              of 41 PageID: 943



ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-8451
 COMPACT INFORMATION SYSTEMS,   :
 LLC, et al.                    :
________________________________________________________________

ATLAS DATA PRIVACY                   :              CIVIL ACTION
CORPORATION, et al.                  :
                                     :
          v.                         :
                                     :              NO. 24-10600
DARKOWL, LLC, et al.                 :


                               MEMORANDUM

Bartle, J.                                            November 26, 2024

             The plaintiffs in these 37 civil actions allege

violations of a New Jersey statute known as Daniel’s Law. 1

Before the court is the consolidated motion of defendants to

dismiss on the ground that Daniel’s Law is unconstitutional on

its face.      Defendants assert that it abridges their freedom of

speech.

             Daniel’s Law provides that judges, prosecutors and

other law enforcement officers as well as their immediate family

members (“covered persons”) may request in writing that any

person, business, or association not disclose or make available



1.   Daniel’s Law as amended is codified as follows: N.J.S.A.
2C:20-31.1, 17:46B-1.1, 19:31-18:1, 46:26A–12, 47:1-17, 47:1A-
1.1, 47:1A-5, 47:1B-1, 47:1B-2, 47:1B-3, 47:1B–4, 56:8-166.1,
56:8-166.3.

                                    -8-
Case 1:24-cv-04037-HB Document 17
       Case: 25-1593 Document: 31    Filed 11/26/24
                                     Page: 12    Date Page
                                                      Filed:904/11/2025
                                                              of 41 PageID: 944



their home addresses and unpublished telephone numbers.              It

creates a civil remedy for actual and punitive damages and

injunctive relief for non-compliance not only for covered

persons but also for their assignees.         There are also criminal

penalties.

             Plaintiffs are Atlas Data Privacy Corporation

(“Atlas”), Jane Doe-1, Jane Doe-2, Edwin Maldonado, Scott

Maloney, Justyna Maloney, Patrick Colligan, Peter Andreyev, and

William Sullivan.     The named individual plaintiffs, who are

police officers or correctional officers, allege they are

“covered persons” under Daniel’s Law.         Atlas is the assignee of

approximately 19,000 unnamed covered persons who used its

website to notify defendants to cease disclosure of their

personal contact information.       The defendants include real

estate businesses, direct-mailing and marketing companies, data

brokers, and other entities that provide fundraising support to

charities and other non-profits. 2        According to plaintiffs,

defendants are entities which continued to make available their

home address and unlisted phone numbers in violation of Daniel’s

Law.   There is no allegation that this information was

untruthful or that defendants obtained it illegally.




2.   There are also named as defendants ten “Richard Roes” and
ten “ABC Companies” in each complaint.
                                    -9-
Case 1:24-cv-04037-HB
        Case: 25-1593    Document 31
                         Document: 17    Filed
                                         Page:11/26/24
                                               13    DatePage
                                                          Filed:10 of 41 PageID: 945
                                                                 04/11/2025




                                        I.

             In or about February 2024 and thereafter, plaintiffs

filed these actions in the Superior Court in a number of

different counties in New Jersey.              Defendants, pursuant to 28

U.S.C. §§ 1441 and 1446, removed the actions to the United

States District Court for the District of New Jersey on the

ground that diversity jurisdiction exists pursuant to 28 U.S.C.

§ 1332(a).    The individual plaintiffs are citizens of New Jersey

while Atlas, a corporation, is a citizen of both Delaware and

New Jersey.    All defendants are citizens of states other than

New Jersey and Delaware.        There is no dispute that the requisite

amounts in controversy have been satisfied.

             All of the judges of the District of New Jersey

recused themselves.        On April 2, 2024, the Chief Judge of the

United States Court of Appeals for the Third Circuit reassigned

these and all related actions to the undersigned pursuant to 28

U.S.C. § 292(b).        E.g., Order, Atlas Data Privacy Corp. v.

Blackbaud, Inc., Civil Action No. 24-3993 (D.N.J. April 2, 2024)

(Doc. No. 13).

             This court held several status conferences in these

and other reassigned Daniel’s Law cases at which defendants made

it known that they intended to challenge Daniel’s Law on various




                                        -10-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              14    DatePage
                                                         Filed:11 of 41 PageID: 946
                                                                04/11/2025




grounds. 3   Some also maintained that subject matter jurisdiction

was absent.    The court, in an effort to proceed in an orderly

fashion, stayed all these actions except for motions to remand

for lack of subject matter jurisdiction and motions to dismiss

on the ground of facial unconstitutionality.             The court

thereafter remanded 39 Daniel’s Law cases for lack of diversity

jurisdiction.     It denied remand in one case, Atlas Data Privacy

Corp. v. MyHeritage Ltd., Civil Action No. 24-4392, because of

fraudulent joinder of a non-diverse defendant.              Memorandum at

31, Atlas Data Privacy Corp. v. MyHeritage Ltd., Civil Action

No. 24-4392 (D.N.J. Nov. 20, 2024) (Doc. No. 52). 4              The

consolidated motion being decided here relates to the actions

for which no challenge to subject matter jurisdiction is

pending.

             The court gave notice of these actions to the Attorney

General of New Jersey, who intervened.            See 28 U.S.C. § 2403(b);

Fed. R. Civ. P. 5.1(b).       With the court’s permission, the



3.   On March 25, 2024, even before the status conferences,
Delvepoint, LLC, the defendant in one of the cases, had moved to
dismiss. Atlas Data Privacy Corp. v. Delvepoint, LLC, Civil
Action No. 24-4096 (Doc. No. 3).
4.   In Atlas Data Privacy Corp. v. Thomson Reuters Corp., Civil
Action No. 24-4269 (D.N.J. filed Mar. 27, 2024), the court
granted remand on the ground that non-diverse defendants Thomson
Reuters Holdings and Thomson Reuters Applications had not proven
fraudulent joinder. The court has granted these defendants
leave to file a motion for reconsideration on or before December
2, 2024.
                                       -11-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17     Filed
                                         Page:11/26/24
                                               15    DatePage
                                                          Filed:12 of 41 PageID: 947
                                                                 04/11/2025




National Association of Assistant United States Attorneys, the

New Jersey State Policemen's Benevolent Association, Inc., and

the National Association of Police Organizations filed an amicus

brief.    E.g., Brief for the Nat’l Ass’n of Assistant U.S. Att’ys

et al. as Amici Curiae, Atlas Data Privacy Corp. v. Lightbox

Parent, L.P., Civil Action No. 24-4105 (D.N.J. Aug. 1, 2024)

(Doc. No. 47-1).

                                       II.

           The complaints recite and the court at the outset

takes judicial notice of the tragic circumstances that led to

the passage of Daniel’s Law.           In July 2020, a disgruntled lawyer

who had litigated before United States District Judge Esther

Salas sought to assassinate her at her home in New Jersey.

Esther Salas, My Son Was Killed Because I’m a Federal Judge,

N.Y. Times (Dec. 8, 2020), https://www.nytimes.com/

2020/12/08/opinion/esther-salas-murder-federal-judges.html.

After finding her home address on the Internet, the lawyer

showed up on a Sunday evening armed and dressed as a delivery

driver.   Id.    Daniel Anderl, Judge Salas’s twenty-year-old son,

answered the door and was fatally shot by the lawyer.                  Id.   Her

husband and Daniel’s father was severely wounded.                Id.     The

lawyer then fled.       In response to these crimes, the New Jersey

Legislature passed Daniel’s Law in November 2020 and has amended

it thereafter.

                                       -12-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              16    DatePage
                                                         Filed:13 of 41 PageID: 948
                                                                04/11/2025




           Daniel’s Law, as declared by the New Jersey

Legislature, was enacted to serve the following goals:

                      This act shall be liberally
           construed in order to accomplish its purpose
           and the public policy of this State, which
           is to enhance the safety and security of
           certain public officials in the justice
           system, including judicial officers, law
           enforcement officers, child protective
           investigators[,] . . . and prosecutors, who
           serve or have served the people of New
           Jersey, and the immediate family members of
           these individuals, to foster the ability of
           these public servants who perform critical
           roles in the justice system to carry out
           their official duties without fear of
           personal reprisal from affected individuals
           related to the performance of their public
           functions.

N.J.S.A. 56:8-166.3 (emphasis added).

           The law prohibits any entity when requested from

thereafter disclosing the home address and unpublished telephone

number of a covered person:

                     Upon notification pursuant to
           paragraph (2) of this subsection, and not
           later than 10 business days following
           receipt thereof, a person, business, or
           association shall not disclose or re-
           disclose on the Internet or otherwise make
           available, the home address or unpublished
           home telephone number of any covered
           person . . . .

Id. at 56:8-166.1(a)(1).       The notice must be in writing and

state that the person seeking non-disclosure is a person

authorized to do so.      Id. at 56.8-166.1(2).         A “covered person”

is defined as “an active, formerly active, or retired judicial

                                       -13-
Case 1:24-cv-04037-HB
        Case: 25-1593    Document 31
                         Document: 17    Filed
                                         Page:11/26/24
                                               17    DatePage
                                                          Filed:14 of 41 PageID: 949
                                                                 04/11/2025




officer, law enforcement officer, or child protective

investigator . . ., or prosecutor and any immediate family

member residing in the same household as such [individual].”

Id. at 56:8-166.1(d).

           “Disclose” means “to solicit, sell, manufacture, give,

provide, lend, trade, mail, deliver, transfer, post, publish,

distribute, circulate, disseminate, present, exhibit, advertise,

or offer” and includes “making available or viewable within a

searchable list or database, regardless of whether a search of

such list or database is actually performed.”               Id.

           The prohibition on disclosure is triggered, as noted

above, when a covered person transmits to an entity written

notice requesting non-disclosure.              The entity must comply with

the request no later than 10 business days after receipt.                  Id.

If it does not, it is “liable to the covered person or the

covered person’s assignee, who may bring a civil action in the

Superior Court.”        Id. at 56:8-166.1(b) (emphasis added).            Under

Daniel’s Law, an “[a]ssignee’ means a person or entity to whom

or which an authorized person has assigned, in writing, a

covered person’s right to bring a civil action for violation of

subsection a. of this section.” 5          Id. at 56:8-166.1(d).



5.   Covered persons may also request through the New Jersey
Office of Information Privacy that public agencies redact or
cease to disclose home addresses. Public agencies shall redact
such information no later than 30 days after the request has
                                        -14-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              18    DatePage
                                                         Filed:15 of 41 PageID: 950
                                                                04/11/2025




           Non-compliance carries a monetary penalty and the

award of appropriate equitable relief.            The court shall award:


                (1) actual damages, but not less than
                    liquidated damages computed at the
                    rate of $1,000 for each violation of
                    this act;
                (2) punitive damages upon proof of
                    willful or reckless disregard of the
                    law;
                (3) reasonable attorney’s fees and other
                    litigation costs reasonably incurred;
                    and
                (4) any other preliminary and equitable
                    relief as the court determines to be
                    appropriate.

Id. at 56:8-166.1(c).      In addition, Daniel’s Law provides for

criminal liability. 6



been approved by the Office of Information Privacy.                N.J.S.A.
47:1B-2.

6.    Daniel’s Law provides:

      Upon notification pursuant to subsection c. of
      this section, and not later than 10 business days
      after receipt thereof, a person shall not
      knowingly, with purpose to expose another to
      harassment or risk of harm to life or property,
      or in reckless disregard of the probability of
      such exposure, post, repost, publish, or
      republish on the Internet, or otherwise make
      available, the home address or unpublished home
      telephone number of any covered person, except in
      compliance with any court order, law enforcement
      investigation, or request by a government agency
      or person duly acting on behalf of the agency.

N.J.S.A. 2C:20-31.1(b).

     It also provides that: “[a] reckless violation of
subsection b. is a crime of the fourth degree. A purposeful
                                       -15-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              19    DatePage
                                                         Filed:16 of 41 PageID: 951
                                                                04/11/2025




             In limited circumstances, Daniel’s Law exempts certain

governmental and other entities from the prohibition against the

disclosure of a home address—but not the home telephone number—

of a covered person.      Id. at 47:1B-3.         For example, a county

recording officer is not required to redact the home address of

a covered person from property records which are publicly

available.    Id. at 47:1B-3(a)(2).           Similarly, a government

agency may disclose the home address of a covered person to a

third-party contractor but only for the purposes of carrying out

its contract with the agency.          Id. at 47:1B-3(a)(5).

                                       III.

             Defendants, pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure, move to dismiss the plaintiffs’

complaints on the ground that Daniel’s Law is unconstitutional

on its face.     As stated in Neitzke v. Williams, “Rule 12(b)(6)

authorizes a court to dismiss a claim on the basis of a

dispositive issue of law.”       490 U.S. 319, 326 (1989).           The court

must accept as true all well-pleaded facts in the complaints.

Nat’l Rifle Ass’n of Am. v. Vullo, 602 U.S. 175, 195 (2024).

The court may also consider exhibits attached to the complaints

and take judicial notice of matters of public record.                Pension

Benefit Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d



violation of subsection b. is a crime of the third degree.”                  Id.
at 2C:20-31.1(d).
                                       -16-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              20    DatePage
                                                         Filed:17 of 41 PageID: 952
                                                                04/11/2025




1192, 1196 (3d Cir. 1993) (citing 5A Charles Allen Wright &

Arthur R. Miller, Federal Practice and Procedure § 1357 (2d ed.

1990)).

           The eight individual plaintiffs, two of whom are

correctional officers and six of whom are police officers,

allege that they were threatened with violence as a result of

his or her public service. 7      For present purposes, these

allegations must be accepted as true.           After Daniel’s Law was



7.   Officer Jane Doe-1 is a law enforcement officer who was
surveilled along with her young child at her home by a major
criminal organization that she was investigating.
     Officer Jane Doe-2 is a correctional officer who discovered
a note left behind by an inmate in the correctional facility’s
law library that contained her full name and home address.
     Detective Edwin Maldonado, a law enforcement officer, moved
after receiving death threats from the criminal organization
Mara Salvatrucha-13 (“MS-13”) at his home. When MS-13 could not
locate him at his new address, they targeted his mother and
attempted to burn down her building.
     Sergeant Scott Maloney and Officer Justyna Maloney are both
law enforcement officers who received death threats and demands
for ransom by phone after Officer Maloney’s encounter with a
civilian was filmed and posted online. Two individuals were
arrested after they were spotted by a neighbor circling the
Maloneys’ house, armed and wearing ski masks.
     Detective Patrick Colligan, during his 32 years in law
enforcement, has received numerous threats targeted at him and
his family. He has a surveillance camera and alarm system and
trained his family how to respond to an attack on his home.
     Officer Peter Andreyev, a law enforcement officer, has
received numerous death threats and threats of violence targeted
at himself and his family members.
     Officer William Sullivan, a correctional officer, has
likewise received death threats and threats of violence directed
at himself and his family.

                                       -17-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              21    DatePage
                                                         Filed:18 of 41 PageID: 953
                                                                04/11/2025




enacted, each individual plaintiff sent defendants written

notices requesting that defendants cease disclosing or re-

disclosing his or her home address and unlisted telephone

number.

           Atlas owns and operates an online platform for covered

persons to identify data brokers and send written notices.                  To

use the service, covered persons must sign up for an account and

set up an email address with Atlas.           They can then use the

platform to identify which entities are disclosing their

personal information and send written notices to those entities

using their Atlas email account.          Approximately 19,000 covered

persons signed up with Atlas and used its platform to send

written notices to defendants.

           In exchange for using the platform, these covered

persons agreed to Atlas’s terms of service.             Those terms of

service state that, upon receipt of written notice from Atlas, a

covered person using Atlas’s platform is “deemed . . . to have

irrevocably assigned to [Atlas] all of [his or her] rights to

bring a claim (and seek damages, other legal remedies, and fees,

costs, and litigation expenses) for violations of [his or her]

rights under” Daniel’s Law.       The terms of service further

provide that “[Atlas] will have the exclusive right to bring

such civil enforcement actions” after assignments take place.

At that point, these covered persons have assigned absolutely

                                       -18-
Case 1:24-cv-04037-HB
        Case: 25-1593    Document 31
                         Document: 17    Filed
                                         Page:11/26/24
                                               22    DatePage
                                                          Filed:19 of 41 PageID: 954
                                                                 04/11/2025




their claims under Daniel’s Law to Atlas.              Under their agreement

with Atlas, Atlas will remit 65% of any recovery to the covered

persons and retain 35% for itself.

             Atlas and the individual plaintiffs claim that

defendants never responded to the written notices and never

redacted the personal information of the individual plaintiffs

or of the 19,000 unnamed covered persons who have assigned their

claims to Atlas.

                                        IV.

             The First Amendment to the Constitution, on which

defendants rely, states in relevant part: “Congress shall make

no law . . . abridging the freedom of speech . . . .”                 This

constitutional prohibition also applies to the laws of the

states through the due process clause of the Fourteenth

Amendment.    Manhattan Cmty. Access Corp. v. Halleck, 587 U.S.

802, 808 (2019).        To succeed on a facial challenge in a First

Amendment case, the party making the challenge must establish

that “the law’s unconstitutional applications substantially

outweigh its constitutional ones.”             Moody v. NetChoice, LLC, 144

S. Ct. 2383, 2397 (2024).

             The court will quickly dispose of the plaintiffs’

first argument that Daniel’s Law is regulating only data and

therefore is not restricting speech.            If plaintiffs are correct,

there is no First Amendment issue to be resolved.                The Supreme

                                        -19-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              23    DatePage
                                                         Filed:20 of 41 PageID: 955
                                                                04/11/2025




Court has described speech as expressive activity intended and

reasonably understood as communicative.            Clark v. Cmty. for

Creative Non-Violence, 468 U.S. 288, 294 (1984).               If, for

example, defendants simply published statistics compiled by the

Census Bureau, the information would probably be characterized

as data.    That is not what is happening here.            Instead, the home

addresses and unlisted phone numbers being disseminated are tied

to specific persons.      In other words, the defendants are telling

the world that Police Officer Jane Jones resides at 123 Main

Street, Camden and can be reached at 609-000-0000.

            If Daniel’s Law limits speech, plaintiffs assert that

the law simply restricts commercial speech which is subject to a

lesser standard of judicial scrutiny and is afforded less

protection under the First Amendment than other forms of speech.

Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of N.Y., 447

U.S. 557, 562-63 (1980).       The Supreme Court has defined

commercial speech as “expression related solely to the economic

interests of the speaker and its audience,” that is expression

which serves the economic interests of both the speaker and

consumer.    Id. at 561 (emphasis added).          The Court has also

described commercial speech as “speech that does no more than

propose a commercial transaction.”            United States v. United

Foods, Inc., 533 U.S. 405, 409 (2001).            Our Court of Appeals has

observed that commercial speech is generally found in

                                       -20-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              24    DatePage
                                                         Filed:21 of 41 PageID: 956
                                                                04/11/2025




advertising for the sale of goods and services.              U.S.

Healthcare, Inc. v. Blue Cross of Greater Phila., 898 F.2d 914,

933 (3d Cir. 1990).

            Commercial speech may be restricted when the message

is either inaccurate or misleading or when the message promotes

unlawful activity.      Cent. Hudson, 447 U.S. at 566.           Otherwise it

may be limited only where the government’s interest in

regulating such speech is substantial, the government’s

regulation directly advances that interest, and the regulation

is no more extensive than necessary.           Id. at 571-72.       This level

of review of commercial speech is generally called intermediate

scrutiny.    Greater Phila. Chamber of Com. v. City of Phila., 949

F.3d 116, 137-38 (3d Cir. 2020).

            While Daniel’s Law includes to “sell” and to

“advertise” within the definition of “disclose,” they are merely

two verbs among many that are enumerated.             The definition also

encompasses to “give, . . . post, . . . disseminate, [and]

exhibit.”    In addition, “disclose” in Daniel’s Law means to make

“available or viewable within a searchable list or database.”

N.J.S.A. 56:8-166.1(d).       The Supreme Court has explained that

commercial speech must relate solely to the economic interests

of its speaker and its audience.          Daniel’s Law allows covered

persons to prevent the dissemination of certain personal

information regardless of the means or reasons for the

                                       -21-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              25    DatePage
                                                         Filed:22 of 41 PageID: 957
                                                                04/11/2025




dissemination.     Its stated purpose in limiting expression is to

enhance the safety and security of judges, prosecutors, and law

enforcement officers and to foster their ability to carry out

their duties without fear of reprisal.            The expression in issue

here is not about the economic interests of the plaintiffs, the

defendants, or the public, let alone solely about their economic

interests.    The speech certainly does not propose a commercial

transaction.     Daniel’s Law, in this court’s view, does not

concern commercial speech.

             The court must decide whether Daniel’s Law is content-

based or content-neutral on its face since the level of judicial

scrutiny will depend on this distinction.             See Reed v. Town of

Gilbert, 576 U.S. 155, 166 (2015).            The Supreme Court has

explained that “government regulation of speech is content based

if a law applies to particular speech because of the topic

discussed or the idea or message expressed.”             Id. at 163.

Speech is content-based when it is regulated by subject matter,

when there are restrictions on a particular viewpoint, or when

there is a prohibition of a particular topic.              Id. at 169.      In

contrast, a law is content-neutral when it is “justified without

reference to the content of the regulated speech.”               Bartnicki v.

Vopper, 532 U.S. 514, 526 (2001) (quoting Ward v. Rock Against

Racism, 491 U.S. 781, 791 (1989)).



                                       -22-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              26    DatePage
                                                         Filed:23 of 41 PageID: 958
                                                                04/11/2025




            Daniel’s Law authorizes covered persons to request

non-disclosure of their home addresses and unpublished phone

numbers.    It clearly regulates particular subject matter.

Accordingly, Daniel’s Law is content-based.

            The Supreme Court’s more recent decision in City of

Austin v. Reagan Nat’l Advertising of Austin, LLC, 596 U.S. 61

(2022), cited by plaintiffs, does not mandate a contrary result.

There, the Court upheld the constitutionality of a city

ordinance regulating on-premises signs differently than off-

premises signs.     The ordinance dealt with such matters as their

size, illumination and location.          The Court ruled that the

ordinance was “agnostic as to content” and thus was content

neutral so as to be subject to intermediate and not strict

scrutiny.     The facts in City of Austin contrast markedly from

the situation here.      Id. at 69-71.

            As Daniel’s Law limits content-based speech, the

defendants maintain that it is subject to strict scrutiny.

Under that standard, the law would be “presumptively

unconstitutional and may be justified only if the government

proves that [it is] narrowly tailored to serve compelling state

interests.”    Reed, 576 U.S. at 163.

            Plaintiffs urge that a somewhat different analysis

should be applied in deciding the constitutionality of Daniel’s

Law because Daniel’s Law is a privacy statute.              Plaintiffs

                                       -23-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              27    DatePage
                                                         Filed:24 of 41 PageID: 959
                                                                04/11/2025




describe it as creating a right of action for judges,

prosecutors and other law enforcement officers to redress the

invasion of their privacy.       It provides that they may notify

entities, large and small, to refrain from disclosing their home

addresses and unlisted phone numbers upon 10 days written

notice.   If an entity fails to adhere to the request, a covered

person or his or her assignee may sue for actual damages but not

less than $1,000 in liquidated damages as well as for injunctive

relief.   Plaintiffs cite Daniel’s Law as part of the long

history of common law torts and statutes whose purpose is to

afford redress to persons whose privacy is invaded from

disclosure of personal information, albeit truthful, that is not

of public interest.      See, e.g., Samuel D. Warren & Louis D.

Brandeis, The Right to Privacy, 4 Harv. L. Rev. 193 (1890);

William L. Prosser, Privacy, 48 Cal. L. Rev. 383 (1960).

            Our Court of Appeals recognized in 2000 that a

significant range of people including public officials,

performers and ordinary folks regard home addresses as private

information.    The court understood this reality even while

referencing the wide availability of telephone directories at

the time.    Our Court of Appeals also wrote that the Freedom of

Information Act exempts home addresses from disclosure as it

would be a “clearly unwarranted invasion of privacy.”                Paul P.

v. Farmer, 227 F.3d 98, 101 (3d Cir. 2000); 5 U.S.C.

                                       -24-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17     Filed
                                         Page:11/26/24
                                               28    DatePage
                                                          Filed:25 of 41 PageID: 960
                                                                 04/11/2025




§ 552(b)(6).     If anything, the sentiment that such information

is private has intensified as most people today have unlisted

numbers and the presence of telephone directories that include

addresses is virtually a thing of the past.

             The defendants counter that Daniel’s Law is not a

privacy law but rather a law to provide for the safety and

security of covered persons.           The court rejects this narrow

reading.   Privacy has generally been defined as the right to be

let alone.    Warren & Brandeis, The Right to Privacy, supra, at

195 (quoting Cooley on Torts 29 (2d ed. 1888)).               The New Jersey

Legislature has concluded that covered persons should have the

right to be let alone insofar as their home addresses and

unpublished phone numbers are concerned.             The reason the

Legislature has protected this information is not only to

enhance the safety and security of covered persons but also to

safeguard them from the fear of reprisal for doing their jobs.

Daniel’s Law is analogous to the long-standing common law tort

for invasion of privacy for disclosure of the intimate details

of a person’s private life.       There the law allows for damages

for disclosure of such information in order to compensate for

causing embarrassment and humiliation.             Romaine v. Kallinger,

537 A. 2d 284, 292 (N.J. 1988).           Here, Daniel’s Law furnishes a

remedy for disclosing certain private information and exposing



                                       -25-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              29    DatePage
                                                         Filed:26 of 41 PageID: 961
                                                                04/11/2025




covered persons to fear of reprisal and to personal danger.

Whatever else it may be, Daniel’s Law is a privacy statute.

            The Supreme Court has recognized the tension that

exists between privacy law and the right of freedom of speech

and the press under the First Amendment.            It has decided a

number of cases where it has had to resolve this tension.                 The

cases that have been cited focus on state statutes which block

the dissemination of the identity of rape victims and of

juvenile offenders even when the information was legally

obtained.     Some involved criminal statutes while others

concerned statutes providing for civil redress for persons whose

privacy has been invaded.       See, e.g., The Florida Star v.

B.J.F., 491 U.S. 524 (1989); Smith v. Daily Mail Publ’g Co., 443

U.S. 97 (1979); Oklahoma Publ’g Co. v. Oklahoma Cnty Dist. Ct.,

430 U.S. 308 (1977); Cox Broad. Corp. v. Cohn, 420 U.S. 469

(1975).   In all of these cases the Supreme Court ruled that the

First Amendment carried the day over the right to privacy.                   See

also Bowley v. City of Uniontown Police Dept., 404 F.3d 783 (3d

Cir. 2005).    Nonetheless, the Court has continually stressed

that it was not announcing a blanket rule that free speech must

always prevail and that publication of truthful and lawfully

obtained information can never be blocked or punished.                 The

Florida Star, 491 U.S. at 532.          It has emphasized that each case



                                       -26-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              30    DatePage
                                                         Filed:27 of 41 PageID: 962
                                                                04/11/2025




must be decided on its particular facts.            Id. at 533.      It

reiterated in The Florida Star:

           Our holding today is limited. We do not
           hold that truthful publication is
           automatically constitutionally protected, or
           that there is no zone of personal privacy
           within which the State may protect the
           individual from intrusion by the press, or
           even that a State may never punish
           publication of the name of a victim of a
           sexual offense.

Id. at 541.

           As noted above, defendants assert this court should

apply strict scrutiny to Daniel’s Law, a standard which the

Supreme Court has applied in Reed and other cases.               The words

“strict scrutiny” and the strict scrutiny standard of review,

however, do not appear in the above cited Supreme Court

decisions involving the right to privacy.             Instead, the Supreme

Court has outlined three specific factors that a court must

consider in balancing the right of privacy against the right of

free speech.      In The Florida Star, which involved a civil

statute imposing damages for the publication of the name of a

rape victim, the Court established that the first inquiry is

whether the information is lawfully obtained and is of public

significance. 8    Id. at 536.    A court must then determine whether



8.   In these pending actions, it is not contested that
defendants obtained the covered persons’ home addresses and
unlisted phone numbers lawfully. Accordingly, the court need
not consider this issue.
                                       -27-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              31    DatePage
                                                         Filed:28 of 41 PageID: 963
                                                                04/11/2025




the law in question serves “a need to further a state interest

of the highest order.”       Id. at 537 (quoting Daily Mail, 443 U.S.

at 103).   Finally, the court must decide whether the statute

serves “the significant interests” which the state purports to

advance and is not underinclusive.            Id. at 540.    Since Daniel’s

Law is a privacy law, this is the proper analysis to be applied

in the pending cases.

             First, the court concludes that the home addresses and

unpublished phone numbers are not matters of public

significance.     The narrow limitation under Daniel’s Law

constitutes but a tiny part of the life story of covered persons

and is not information that is necessary or pertinent for public

oversight.    Daniel’s Law does not inhibit in any meaningful way

the public’s knowledge of public officials or its ability to

hold them accountable for their performance and behavior.                 In

contrast to the limited scope of Daniel’s Law, the restricted

speech in the cited Supreme Court cases concerned criminal

activity and its prosecution.          The public clearly has a vital

interest in such information while the same cannot be said of

the speech governed by Daniel’s Law.

             The defendants raise the specter of a number of

hypotheticals where the home address or the unlisted phone

number of a covered person may be newsworthy and thus of public

significance.     If any of these hypotheticals ever comes to pass,

                                       -28-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17     Filed
                                         Page:11/26/24
                                               32    DatePage
                                                          Filed:29 of 41 PageID: 964
                                                                 04/11/2025




the defendants’ remedy is to challenge Daniel’s law as

unconstitutional as applied.           See United States v. Hansen, 599

U.S. 762, 784-85 (2023).

            Second, the court must determine whether Daniel’s Law

serves a need to further a state interest of the highest order.

The New Jersey Legislature declared in Daniel’s Law itself that

its purpose was to enhance the safety and security of judges,

prosecutors, and other law enforcement officers so that they are

able to carry out their official duties without fear of personal

reprisal.    The court need not tarry by reciting in detail the

support for the well-known fact, amply documented by the record

here, that in recent years judges, prosecutors, police,

correctional officers, and others in law enforcement have been

the subject of an ever increasing number of threats and even

assassinations.     Some of these threats and assassinations, as

alleged in the complaints and of which the court takes judicial

notice, have been facilitated by malefactors obtaining the home

address or unlisted phone number of their targets.                Indeed, the

immediate motivation for the passage of Daniel’s Law was the

tragedy that occurred when an individual with grievances against

Judge Salas obtained her home address from the Internet,

proceeded to her home with the intent to kill her, and killed

her son and wounded her husband.           None of the parties appears to

contest that Daniel’s Law, in aiming to protect covered persons

                                       -29-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17     Filed
                                         Page:11/26/24
                                               33    DatePage
                                                          Filed:30 of 41 PageID: 965
                                                                 04/11/2025




from fear, threats, injury and death, serves a need to further a

state interest of the highest order.

             Finally, the defendants assert that Daniel’s Law fails

because it is underinclusive.          By invoking underinclusiveness,

they mean that New Jersey is not really pursuing or the law is

not advancing its compelling state interest in protecting

judges, prosecutors, and other law enforcement officers from

threats and assassinations.       See Williams-Yulee v. Florida Bar,

575 U.S. 433, 448-49 (2015).           Defendants reference that Daniel’s

Law has a number of exemptions allowing for disclosure of home

addresses.    The law, for example, does not block access to home

addresses which appear on property records or on voter

registration lists.      The short answer is that this type of

information is generally more difficult to extract from public

records than information found on the Internet.               The Supreme

Court has emphasized that the right of privacy in compiled or

computerized information does not evaporate simply because the

information may be found in other places.              It explained that

there is “a vast difference between public records that might be

found after a diligent search of courthouse files, county

archives, and local police stations throughout the country and a

computerized summary located in a single clearinghouse of

information.”     U.S. Dep’t of Just. v. Reps. Comm. for Freedom of

the Press, 489 U.S. 749, 764 (1989).            The fact that the home

                                       -30-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17     Filed
                                         Page:11/26/24
                                               34    DatePage
                                                          Filed:31 of 41 PageID: 966
                                                                 04/11/2025




addresses and unlisted phone numbers of individual covered

persons may be discovered elsewhere in various scattered

locations does not make Daniel’s Law underinclusive.

             The defendants also fault the law because it treats

private and business entities more strictly than public

agencies.     The law does not limit the use of information by

governmental agencies in the same way it does private entities.

In some instances, the availability of home addresses and even

phone numbers is necessary for the government and society to

function.     It also allows the State more time to remove

information from public access.           This is understandable

considering the numerous state agencies, counties, and

municipalities which may hold such information.               This reality

does not make Daniel’s Law underinclusive.              See Fraternal Order

of Police v. City of Phila., 812 F.2d 105, 118 (3d Cir. 1987).

             The distinctions made in Daniel’s Law are sound—not

arbitrary or discriminatory.           All non-governmental entities are

treated the same.       The New Jersey Legislature has had to grapple

with a very complex and important issue in trying to protect

covered persons who seek to uphold the rule of law and who by

the very nature of their jobs are in the public eye.                 The

Supreme Court has dictated that each case must be decided on its

own facts.    It has never ruled on a case like the ones now

before this court.       The law is not unconstitutional simply

                                       -31-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17     Filed
                                         Page:11/26/24
                                               35    DatePage
                                                          Filed:32 of 41 PageID: 967
                                                                 04/11/2025




because the Legislature may not have come up with a complete

answer to the problem of the safety, security, and fear of

reprisal of covered persons.           It acted in response to the

attempted assassination of Judge Salas, the murder of her son,

and the wounding of her husband, all of which resulted after an

assailant obtained her home address through the Internet.                  The

special although not total focus of Daniel’s Law is to prevent

the use of the Internet as the source of intelligence to

facilitate other such tragedies.           The Legislature cannot be

faulted for its approach based on a very real set of facts,

which unfortunately are not unique.            The perfect is not the

enemy of the good.

            The Supreme Court in Williams-Yulee, supra, did

recognize that underinclusiveness can be a red flag in

determining whether a law limiting speech advances a state

interest.    In that case, the Court upheld against an

underinclusive First Amendment challenge a regulation of the

Florida Bar prohibiting a judicial candidate from personally

soliciting money for her election.            Williams-Yulee, 575 U.S. at

455-56.   This narrowly drawn regulation did not prevent the

candidate from establishing a committee of lawyers to raise

money for her campaign and did not ban her from sending thank-

you notes to her contributors.          Nor did it require an elected



                                       -32-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              36    DatePage
                                                         Filed:33 of 41 PageID: 968
                                                                04/11/2025




judge to recuse in any case in which a lawyer-contributor

appeared.     The Court observed:

            A State need not address all aspects of a
            problem in one fell swoop; policymakers may
            focus on their most pressing concerns. We
            have accordingly upheld laws – even under
            strict scrutiny – that conceivably could
            have restricted even greater amounts of
            speech in service of their stated interests.

Id. at 449.    The present situation is no different.              Daniel’s

Law is not underinclusive because it may not address “all

aspects of the problem in one fell swoop.”             Rather, it does

materially promote the state’s interest of the highest order in

protecting judges, prosecutors and other law enforcement

officers from harm.

            The defendants challenge other aspects of Daniel’s

Law.   They criticize the law’s sweep in not limiting notice of

non-disclosure to situations where there are “true threats.”                  By

then, any notice not to disclose a home address and unlisted

telephone number is probably too late.            That would be analogous

to closing the barn door after the horse has left.               The

Legislature was not unreasonable in determining that the law to

be effective must allow covered persons to request non-

disclosure preemptively.       Defendants also argue that the

definition of “disclose” is too broad.            The law reads as it does

to advance the state’s significant interest in protecting the



                                       -33-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              37    DatePage
                                                         Filed:34 of 41 PageID: 969
                                                                04/11/2025




lives and well-being of covered persons.            This argument is not

persuasive.

           Defendants further suggest that a protective order

would be a sufficient remedy.          It is questionable that the entry

of a protective order would be effective after the information

is released.    The court disagrees that this legislative scheme

is invalid.

           Defendants take issue with the assignment provision of

Daniel’s Law.     The Legislature made a rational decision in

allowing covered persons to assign their claims.               In its view,

it will make the enforcement more effective.             It is not hard to

imagine that many covered persons may find it too difficult, too

cumbersome, or too expensive to hire counsel or to proceed

against dozens of defendants on their own without an assignee.

           The court has considered the various other challenges

defendants raise to the form of the law.            They are all without

merit.   Defendants are simply disagreeing with the Legislature’s

policy choices.     Reasonable people of course may have different

views about those choices.       Simply because the law could have

been written differently does not make it unconstitutional.

                                       V.

           The defendants in addition assert that Daniel’s Law is

unconstitutional on its face because it is a strict liability

statute, that is because it provides for actual or liquidated

                                       -34-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              38    DatePage
                                                         Filed:35 of 41 PageID: 970
                                                                04/11/2025




damages for non-compliance without regard to fault.                It is the

fallback position of the defendants that plaintiffs must

establish that the defendants had the specific intent to violate

the requirements of Daniel’s Law.             Plaintiffs and the New Jersey

Attorney General counter that the standard of liability is

negligence.    They take the position that plaintiffs must prove

that defendants acted unreasonably in failing to take down the

requested home addresses and unlisted phone numbers.

            Liability without fault is known both to the civil and

criminal law.    See, e.g., Smith v. California, 361 U.S. 147, 150

(1989).   The Supreme Court, however, has carved out an exception

against strict liability where a law restricts the freedom of

speech.   The Court has held unconstitutional an ordinance which

provided for strict criminal liability against booksellers who

had an obscene or indecent writing or book in their places of

business.     Id. at 155.    Likewise, the Court in The Florida Star

ruled invalid under the First Amendment a civil privacy statute

which provided for a negligence per se standard of culpability.

491 U.S. at 539-40, 541 n.9.

            Daniel’s Law provides a covered person or the person’s

assignee with a civil remedy.          Relief is only available after a

covered person takes the initiative to transmit a written notice

of non-disclosure to an entity.          The covered person must also

state he or she is a person authorized to request non-

                                       -35-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              39    DatePage
                                                         Filed:36 of 41 PageID: 971
                                                                04/11/2025




disclosure.    The entity has 10 business days thereafter not to

disclose or not to make available the home address and

unpublished phone telephone number of the covered person.

N.J.S.A. 2C:20-21.1(6).       For failure to comply, the court shall

award to a covered person or his or her assignee: (1) actual

damages but not less than liquidated damages at the rate of

$1,000 for each violation; (2) punitive damages upon proof of

willful or reckless disregard of the law; and (3) preliminary

and equitable relief.      N.J.S.A. 56:8-166.1(c).

           The standard for determining culpability under

Daniel’s Law for actual or liquidated damages is of course a

matter of state law.      See Erie R.R. Co. v. Tompkins, 304 U.S.

64, 78 (1938).     To the extent that the state law itself does not

on its face set forth the standard, this court must look to its

construction by the New Jersey Supreme Court.              If that court has

not had occasion to address the issue, this court must predict

how it would rule.      Packard v. Provident Nat’l Bank, 994 F.2d

1039, 1046 (3d Cir. 1993).

           In deciding what standard applies, the court must keep

in mind relevant principles of statutory construction applied in

New Jersey.    To this end, statutes must be construed to conform

to the Constitution if the statute is reasonably susceptible to

such a construction.      State v. Carter, 255 A.3d 1139, 1153 (N.J.

2021); State v. Burkert, 174 A.3d 987, 998 (N.J. 2017).                 Courts

                                       -36-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              40    DatePage
                                                         Filed:37 of 41 PageID: 972
                                                                04/11/2025




must also avoid an interpretation of a statute which leads to

absurd results.     N.J. Republican State Comm. v. Murphy, 236 A.3d

898, 908 (N.J. 2020).

           Daniel’s Law does not state explicitly what standard

of liability applies for actual or liquidated damages.                 However,

it does require that the offending conduct amount to “willful or

reckless disregard of the law” in order for the award of

punitive damages.       It would be nonsensical and effect an absurd

result for the court to read into Daniel’s Law a standard of

civil liability for actual or liquidated damages which requires

the same degree of culpability as or a higher degree of

culpability than the standard of civil liability enunciated in

the statute for punitive damages.             Thus, liability for actual or

liquidated damages does not demand a showing of specific intent

or of willful or reckless conduct when recovery of punitive

damages may occur only with proof of willful or reckless

conduct.

           That leaves the question whether the standard for

actual and liquidated damages is either liability without fault

or negligence.     If Daniel’s Law imposes strict liability, it

likely runs afoul, as a privacy statute, of the above cited

precedents of the United States Supreme Court.              The Court has

invalidated strict liability statutes that restrict speech.

See, e.g., The Florida Star, 491 U.S. at 541.              Based on New

                                       -37-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              41    DatePage
                                                         Filed:38 of 41 PageID: 973
                                                                04/11/2025




Jersey precedents, this court must read the Daniel’s Law to

avoid this outcome if it is reasonably susceptible to a

constitutional construction.

           To ascribe a strict liability standard to Daniel’s Law

not only would likely render the law unconstitutional but also

could lead to absurd results.          Under such a standard, a noticed

entity would be liable even if it would be unreasonable or

impossible under the circumstances to meet the statutory 10 day

take-down deadline.      Damages under this scenario would have to

be awarded if a hurricane or other natural disaster had taken

place which totally impeded the ability of the noticed entity to

comply in a timely manner.       The same result would be forthcoming

if a fire had destroyed a mailed notice shortly after receipt

and the direction for non-disclosure was lost through no one’s

fault before it could be implemented.           The noticed entity would

also be on the hook if its computer system failed after having

received thousands of notices at one time, and it was unable to

take down all the information within the allotted period.

           Daniel’s Law is reasonably susceptible to a

construction with a negligence standard of liability.                It is a

privacy statute analogous to the common law tort of invasion of

privacy of the intimate details of a person’s life.                The New

Jersey Supreme Court has explained that recovery for this tort

requires proof of “the unreasonable publication of private

                                       -38-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              42    DatePage
                                                         Filed:39 of 41 PageID: 974
                                                                04/11/2025




facts.”    Romaine, 537 A.2d at 291-92.         This is a negligence

test.   There is no reason to think that the New Jersey Supreme

Court would not apply the same test here as it did in Romaine. 9

Daniel’s Law must be read as imposing liability only if a

defendant unreasonably disclosed or made available the home

addresses and unlisted telephone numbers of covered persons

after the statutory deadline had expired.

            In summary, the court concludes that Daniel’s Law does

not mandate a specific intent standard of liability or a

standard of liability without fault for actual or liquidated

damages.   The inclusion of a negligence standard of liability

for actual or liquidated damages is a reasonable construction of

Daniel’s Law, avoids absurd results, is consistent with

analogous New Jersey privacy law, and saves the law from

constitutional repugnancy.

            This court predicts that the Supreme Court of New

Jersey would construe Daniel’s Law as requiring a covered person

or assignee to establish an entity’s negligence in order to




9.   The New Jersey Model Civil Jury Charges classify the
various privacy torts under the rubric “Intentional Torts.” New
Jersey Courts, Model Civil Jury Charges System §§ 3.10-3.14,
http:www.uscourts.gov/courts/civil/model-civil-jury-charges.
This classification does not have the imprimatur of the New
Jersey Supreme Court and cannot supersede Romaine. See
Graphnet, Inc. v. Retarus, Inc., 269 A.2d 413, 423 (N.J. 2022).
                                       -39-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              43    DatePage
                                                         Filed:40 of 41 PageID: 975
                                                                04/11/2025




obtain an award of actual or liquidated damages under N.J.S.A.

56:8-166.1(c)(1).

                                       VI.

           The United States Supreme Court has declared that

courts should decide cases on their particular facts and

circumstances when they involve the interaction of privacy and

the right of free speech with the caveat that any privacy

statute restricting speech is likely unconstitutional if it

imposes liability without fault.          At this stage of the pending

cases, the court must accept as true the well-pleaded facts and

may take judicial notice as appropriate of other facts.                 After

applying the legal analysis enumerated by the Supreme Court to

the particular facts and circumstances presented here, Daniel’s

Law with its negligence standard of liability for actual or

liquidated damages is constitutional on its face.               The speech

that is restricted is not of public significance, the law

imposing the restriction serves to further a need of the highest

order of the State of New Jersey, and the law serves the

significant interest of the State and is not fatally

underinclusive.




                                       -40-
Case 1:24-cv-04037-HB
        Case: 25-1593   Document 31
                        Document: 17    Filed
                                        Page:11/26/24
                                              44    DatePage
                                                         Filed:41 of 41 PageID: 976
                                                                04/11/2025




           The consolidated motion of the defendants to dismiss

these actions on the ground that Daniel’s Law is facially

unconstitutional will be denied.



                                              BY THE COURT:



                                              /s/   Harvey Bartle III
                                                                              J.




                                       -41-
Case: 25-1593   Document: 17   Page: 45   Date Filed: 04/11/2025




                     Exhibit B
 Case 1:24-cv-11443-HB Document
      Case: 25-1593 Document: 178 Page:
                                   Filed 46
                                         01/08/25   Page 1
                                               Date Filed:  of 1 PageID: 89
                                                           04/11/2025



                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

ATLAS DATA PRIVACY                   :               CIVIL ACTION
CORPORATION, et al.                  :
                                     :
         v.                          :
                                     :
LIGHTHOUSE LIST COMPANY, LLC         :               NO. 24-11443
et al.                               :

                                   ORDER

          AND NOW, this 8th day of January, 2025, it is hereby

ORDERED that:

          (1)   for the reasons previously stated in the court's

Memorandum dated November 26, 2024 in Atlas Data Privacy Corp.

v. We Inform, LLC, Civ. A. No. 24-4037, 2024 WL 4906924 (D.N.J.

Nov. 26, 2024), the motion of defendant Lighthouse List Company,

LLC to dismiss this action under Rule 12(b)(6) of the Federal

Rules of Civil Procedure on the ground that Daniel's Law is

unconstitutional on its face is DENIED; and

           (2) pursuant to 28 U.S.C. § 1292(b), it is the

opinion of the court that this Order involves a controlling

question of law as to which there is a substantial ground for

difference of opinion and that an immediate appeal from the

order may materially advance the ultimate termination of the

litigation.


                                           BY THE COURT:


                                           /s/   Harvey Bartle III
                                                                         J.
